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             IN THE UNITED STATES DISTRICT COURT FOR THE

                       WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                               )
                                                        )
                     Plaintiff,                         )
                                                        )       CIV-20-168-G
              -vs-                                      ) No.
                                                        )
CHRISTOPHER STEVEN LEDBETTER,                           ) Violations: 18 U.S.C. $ 922(o)(1)
                                                        )             18 u.s.c. $ e24(d)
                     Defendant.                         )             28 U.S.C. $ 2a61(c)



                                   INFORMATION

The United States Attorney charges:

              On or about June 4, 2020, in the Western District of Oklahoma,

                     --- CHRISTOPHER STEVEN LEDBETTER,

the defendant herein, knowingly possessed a machinegun, that is, a Two Rivers Arms,

Avtomat Kalashnikova (AK-47) style carbine, 7.62x39 caliber, bearing serial number

GV2300

       All in violation of Title   18, United States Code, Section 922(o)(l), the penalty for

which is found in Title 18, United States Code, Section 92a@)Q).

                                        FORFEITURE

       The allegations contained in this Indictment are hereby re-alleged and

incorporated for the purpose of alleging forfeiture.
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      Upon conviction of the offense alleged in Count      I of this Information,

CHRISTOPHER STEVEN LEDBETTER shall forfeit to the United States any and all

firearms, magazines, and ammunition involved in the commission of the offense.

      The property subject to forfeiture includes, but is not limited to:

      1. A Two Rivers Arms, Avtomat Kalashnikova (AK-47 ) style carbine, 7 .62x39

           caliber, bearing serial number GV2300;

      2. Any and all magazines    capable of holding 7.62x39 caliber ammunition;

      3.   Any and aL|7.62x39 caliber ammunition; and

      4.   Any and all destructive devices and components of destructive devices.

      All pursuant to Title   18, United States Code, Section 924(d) and Title 28, United

States Code, Section, 2a6I@).




                                              TIMOTI{Y    J. DOWNING
                                              United States Attorney

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                                                      DILLON
                                              JESSICA PERRY
                                              Assistant U.S. Attorneys




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